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                    UNITED STATES DISTRICT COURT
                        DISTRICT OF MINNESOTA
                       06-CR-148(06)(JMR/RLE)


United States of America               )
                                       )
            v.                         )     ORDER
                                       )
Seth Tylibe Nururdin                   )


     Defendant objects to the Report and Recommendation issued

August 24, 2006 [Docket No. 154], by the Honorable Raymond L.

Erickson, United States Magistrate Judge.        The Report recommended

denying defendant’s motions to suppress evidence obtained from

search and seizure, and to suppress eyewitness identification.

Defendant’s objections to the Report were timely filed, pursuant to

Local Rule 72.1(c)(2).

     Based upon a de novo review of the record herein, the Court

adopts the Magistrate’s Report and Recommendation.

     Accordingly, IT IS ORDERED that:

     1.    Defendant’s Motion to Suppress Evidence Obtained from

Search and Seizure [Docket No. 77] is denied.

     2.    Defendant’s Motion to Suppress Eyewitness Identification

[No. 79] is denied.

Dated:    November 2nd, 2006



                                    s/ James M. Rosenbaum
                                 JAMES M. ROSENBAUM
                                 United States Chief District Judge
